Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 1 of 13 PageID: 616




                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW JERSEY

 MICHAEL PATRICK SIANO

                     Plaintiff ,

                                                      Civil Action No.:3:20-cv-1 2827-MAS-DEA

        V.

                                                          Plaintiffs Objection to Court's order
 M&T BANK, PARKER McCAY P.A. LAW                          of dismissal of complaint and files its
                                                          Motion for Reconsideration pursuant
 OFFICES et al, and all Unknown Parties,                  to 4:49-2, Civil Rule 7.1
                      Defendants.



         PLEASE TAKE JUDICIAL NOTICE upon this Court's dismissal of Plaintiff Michael
 Patrick Siano's complaint on June 30,2021 , I Michael Patrick Siano strongly objects, and
 respectfully moves this Court to reconsider its decision dismissing my proper and just complaint
 granted by the Honorable Michael A. Shipp, United States District Judge for the DISTRICT OF
 NEW JERSEY at the Clarkson S. Fisher Building and U.S. District Courthouse located at 402
 East State Street, Trenton, New Jersey, 08608, and to reinstate my proper complaint, allowing
 Siano his right to due process oflaw pursuant to Local Court Rule 4:49-2 and Civ. Rule 7.1.


                          RECEIVED

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                           AT 8•3~UL     O9 2021
                                   WILLIAM T. WALSH
                                                      M                                         7/9/zt
                                       C LERK


                                                                  Michael Patrick Siano

                                                                  102 Haines Street East

                                                                 Lanoka Harbor, NJ 08734

                                                                  Phone: 732-788-0772

                                                                 E-Mail: Mikee1987@Yahoo.com
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 2 of 13 PageID: 617




                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW JERSEY
 -------------------,
 MICHAEL PATRICK SIANO

                      Plaintiff ,

                                                    Civil Action No.:3:20-cv-12827-MAS-DEA
         V.
                                                         Plaintiffs Objection to Court's order
                                                         of dismissal of complaint and files its
 M&T BANK, PARKER McCA Y P.A. LAW                        Motion for Reconsideration pursuant
                                                         to 4:49-2, Civil Rule 7.1
 OFFICES ct al, and all Unknown Parties,

                       Defendants.




 PLAINTIFF MICHAEL PATRICK SIANO MEMORANDUM OF LAW IN SUPPORT OF HIS
       MOTION TO RECONSIDER THE ORDER TO DISMISS THE COMPLAINT



         Plaintiff Michael Patrick Siano respectfully moves this Honorable Court to reconsider its
 order of June 30, 2021 granting Defendants motion to dismiss, ultimately dismissing the
 Plaintiffs proper and just complaint and in support thereof avers as follows.



 1.     LEGAL STANDARD

         It appears to be some type of confusion before this Court, as this Federal Case has no

 bearing on a disgruntle party from State Court asking a Federal Court to step in. None of the

 Plaintiffs complaint is asking this Federal Court to step in and oversee what the State Court has

 done in some sort of an appeal. Siano understands the willful misrepresentations of facts

 committed by the lender, before, during, and after closing. Siano exercised his right as truster
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 3 of 13 PageID: 618




 and only signer of the now voided mortgage document, the State Court case is simply void on its

 face.


          l . Siana's Federal complaint clearly shows, the lack of performance in correcting the

 record by the Defendants and possibly their involvement in racketeering having superior

 knowledge of their actions. Pursuant to 15 U.S.C. § 1640 which gives Siano the authority to fi le

 suit in Federal Court as the Assignee has failed to properly respond and correct the record

 pertaining to a proper rescission. More over, 15 USC§ 1640 establishes the jurisdiction of this

 court.


         2. Siano is following the authority under Federal Statute 15 USC §1640 (e), which I

 quote ... "any action under this section may be brought in any United States district court, or in

 any other court ofcompetent jurisdiction. All parties are with in this courts jurisdiction and

 authority.


         3. This Federal Court has the jurisdiction and the power to over see and to enforce the lack

 of performance when the claiming assignee fai ls to follow the Law when a consumer rightfully

 rescinds the transaction, and to enforce the assignee to correct the record at the recorders office.


         4. This Court makes a bold ruling in favor of the Defendant's "statements of counsel that it

 "was the holder ofthe note and mortgage," notwithstanding the fact that this Court has no "Strict

 Proof' on the record that establishes the subject Note was in fact the original or simply a copy, as

 this Honorable Court has based its decision on an "unsupported statement" to claims made by the

 Defendant's Attorney. "Statements of counsel in brief or in argument are not sufficient for

 motion to dismiss or for summary judgment," Trinsey v. Pagliaro, D. C. Pa. 1964, 229 F Supp.

 64 7. There is no required affidavit in support of its claim therefore, the Court's decision was
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 4 of 13 PageID: 619




 knowingly granted absent a competent witness's testimony, sworn under "penalties of perjury"

 before this Court, which is required by Federal rules of evidence.


         5. Whereas, any MERS member has access to any registered mortgage documents with in

 the MERS system, and this Honorable Court' s decision was made absent "strict proof' required

 to be on the record for this Court to make this bold ruling that fai ls or refuses to acknowledge the

 rules of evidence required to overcome the hearsay.


         6. The UCC and the Federal Reserve banks clearly explain why the transaction was

 riddled with misrepresentations of facts. Once discovered the law allows Siano the right to void

 the credit transaction, which once executed with a "NOTICE" leaves the State Court judgment

 void on its face, as there is nothing to appeal at the State Appellate Court. Siano's right to rescind

 the transaction was never a part of the State Court proceeding and happened after the Defendant

 willfully came to the State Court with unclean hands having superior knowledge.


         7. Therefore, the fact that Siano' s rescinding of the transaction voids the State Court's

 ruling, establishing the Rooker-Feldman doctrine as merely a boiler plate attempt to have this

 case dismissed by an attorney absent "fu st-hand knowledge" where the doctrine does not apply,

 made moot and irrelevant in this case. This Court is holding Siano to higher standards as an

 attorney, Siano's arguments were never reviewed, heard or tried in State Court. Siano merely

 tried to vacate the moot j udgment granted against him as the transaction is void per law, as Siano

 did not realize there was a default judgment, which barred him from having the Court hear and

 present the Court with new evidence.


        8. Siano filed this case to enforce his rightful rescission, which is the entire basis of this

 Federal action, and is well with in the time frame of 3 years. According to Honorable Justice
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 5 of 13 PageID: 620




 Scalia someone doesn' t need to file suit within the 3 year time frame,just needs to 'Notice". See

 JESJNOSKJ ET UX v. COUNTRYWIDE HOME LOANS.INC., ET AL. 5 74 U S.                          (2015).

 The Basis of Siana' s right to rescind the credit transaction is solely, misrepresentations of facts

 that were later discovered, and there is no time frame as fraud vitiates everything. There is

 nothing within the Federal laws were Siano needs the approval of any authority to rescind the

 transaction, but simply "Notice" the other party see 15 USC § 1635 and provisions under TILA.


 2.     ROOKER- FELDMAN DOCTRINE


        Rooker-Feldman Doctrine is irrelevant in this case. There is no winey disgruntle party

 from State Court asking relief in Federal Court. Reviewing "inextricably intertwined" which

 focuses on the injury alleged by the Federal Plaintiff. The fundamental and appropriate question

 to ask is whether the injury alleged by the Federal Plaintiff resulted from the State Court

judgment itself or is distinct from that judgment. This approach turns on whether the federal

 claim alleges the injury was caused by the judgment or whether the federal claim alleges an

 independent injury that the State Court fai led to remedy. There is nothing for the State Court to

 remedy as Siano doesn' t need the approval of any court to lawfully rescind the transaction as I

 was the only party who signed the mortgage document and I have the lawful right to void it and I

 used the Authority under 15 USC §1635 and TILA under 12 CFR §226.23.


       9. When a Plaintiff suffers an out of court injury and then fails to get relief from the State

 Court, a subsequent federal lawsuit is not inextricably intertwined. But, if Plaintiff complains of

 an injury which was caused by the State Court j udgment Rooker-Feldman bars Federal Court

 appellate review for lack of subject matter jurisdiction. Siano makes very clear, that there is no

 injury from State Court as the mortgage document relied on by the Defendants became void as a
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 6 of 13 PageID: 621




 matter of law. There is nothing under 15 USC § 1635 that states the consumer needs the approval

 of some authority, but simply ''NOTICE" the other party. The purpose of Rooker-Feldman

 doctrine is to prevent collateral attacks on State Court judgments with the same arguments, or

 injury from the State Court judgments. Siano has no injury from State Court, and the State Court

 never heard or tried Siana' s Federal complaint, as Siano has filed this proper complaint with the

 proper court according to 15 USC §1640.


      10. Furthermore, Inextricably intertwined rests on, whether the federal claim alleges an

 injury caused by the State Court judgment. This causation requirement asks whether the State

 Court judgment both actually and proximately caused the injury for which the Federal Plaintiff

 seeks relief. If the State Court judgment is both the actual and proximate cause of the alleged

 injury only then is the Plaintiffs Federal claim barred. Siana's Federal complaint is not seeking

 to set aside j udgments in any previous lawsuits based on legal errors of the State Court but seeks

 damages based on the wrongful behavior of extrinsic fraud (misrepresentation of facts) by the

 Defendants having unclean hands, as the Defendants are holding a counterfeit copy of Siana's

 Note, and also has a useless voided judgment.


         11 . The courts hold that the Rooker- Feldman Doctrine applies only when the Federal

 Plaintiff both asserts as his injury legal error or errors by the State Court and seeks as his remedy

 relief from the State Court judgment, notwithstanding the Federal Plaintiff was seeking to set

 aside previous judgments because fraud produced the State Court judgments that the Federal

 Court shall not be deprived of jurisdiction under Rooker-Feldman and FRCP 12(b) (1). Plaintiff

 Siano is not asserting State Court judgements caused him harm or any injury, Plaintiffs

 complaint is invoking his right under the authority of federal law to properly enforce his

 rescission and to correct the record because the Defendants failed to do so.
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 7 of 13 PageID: 622




         12. As there must have been some type of confusion, I now clear up the confusion and

 correct the record. The Rooker - Feldman Doctrine is irrelevant in this case as the cause of

 action is not an attempt to appeal a State Court action, or claiming a State Court' s judgment

 caused harm, and no appellate review would be warranted.


         13. Furthermore lets not forget that any court cannot rule by presumption without facts on

 the record, as subject matter jurisdiction for such ruling was never established on the record at

 the State Court level once Siano challenged subject matter jurisdiction in Siano's Motion to

 vacate judgment filed in State Court. Any court can lose jurisdiction. The court made it clear that

 "Once jurisdiction is challenged, the court cannot proceed when it clearly appears that the court

 lacks jurisdiction, the court has no authority to reach merits, but rather, should dismiss the

 action," Melo v. US, 505 F2d 1026 . With the proper rescission and voidance of the mortgage

 document, how can the court still have competent subject matter jurisdiction over the "Thing" in

 dispute (my property)?


         14. Whereas, the Defendant failed to establish the Courts jurisdiction on the record for

 the record, also any party who has unclean hands strips any court of jurisdiction. It is not this

 Court's decision to assume or not assume if the Defendant has unclean hands or not, but review

 the record of supporting evidence and statements made under oath. "An order that exceeds the

 jurisdiction of the court, is void, or voidable, and can be attacked in any proceeding in any

 court where the validity of the judgment comes into issue" Rose v. Himely (1808) 4 Cranch

 241, 2 Led 608; Pennoyer v. Neff (1877) 95 US 714, 24 Led 565; Thompson v. Whitman (1873)

 18 Wall 457, 21 l ED 897; Windsor v. McVeigh (1876) 93 US 274, 23 Led 914; McDonald v.

 Mabee (191 7) 243 US 90, 37 Set 343, 61 Led 608.
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 8 of 13 PageID: 623




         15. The court cannot assume it has jurisdiction for its ruling. In the State Court

 proceeding, Siano raised Lack of subject matter jurisdiction and the State Court failed to require

 and enforce the moving party to establish the Courts jurisdiction, which in turn violated Siana' s

 due process rights.


         16. This Court has no firsthand knowledge, based on the record "if' the Defendant has

 unclean hands or not as Siano has the right to cross examine any a:ffiant who makes bold claims.

 This Court stripped me the right to have my day in court, to allow me the right to acquire the

 needed documents to support my complaint. It is not this Court's job to question my rightful

 rescission but to enforce pursuant to 15 USC § 1640 and to allow the record to be corrected.


         17. There is nothing in the record before this Court that proves the establishment of the

 State Courts jurisdiction after jurisdiction was challenged. The mortgage document, which

 transferred equitable rights to the property relied on by the Defendants is void after the "Notice

 was mai led pursuant to 15 USC § 1635. Anything that happened in State Court is moot. This

 Court received the evidence , before th is decision was rendered, of my lawful rescission

 "NOTICE" and also my complaint filed with the Attorney General who has yet to reply, as the

 attorney General may join this suit pursuant to 15 USC § 1540.


         18. Siana's cause of action is unique as interstate banking is wholly the jurisdiction of

 the federal courts. The key factor before this Court is this Court has no ideal if the Note the

 Defense introduced is original or not. The Court made a ruling without first hand knowledge of

 the facts and came to its own conclusion using assumption.


          19. The Court erred without having the evidence of a competent witness sworn under

 pains and penalty of perjury with firsthand knowledge, nor the evidence established on the
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 9 of 13 PageID: 624




 record when stating that the uncontested fact that Siano was induced into a one sided,

 unenforceable, deceitful transaction under the fraudulent pretense of a loan with Glendenning ,

 and that M&T BANK and Parker McCay conspired to foreclose on my property by fraudulently

 acquiring mortgage assignments are recycled claims.


        20. The Court's job is to review the evidence on the record with supporting affidavits.

 The Court has no right, and has practiced law from the bench when the Court has no idea what

 happened before, during, or after closing or what happened behind closed doors, as the proper

 forms FR 2046, I 099-O1D, 424-B5 prospectus, RC-S, RC-B call schedules, will tell a different

 story. It is not as simple as claiming to be the holder of the note, the Note must be the original

 signed Note, the original piece of paper signed at closing, not a fabricated claiming original Note

 recreated and allowed under UCC 3-401(b).


        21. To make it clear, Siano's uncontested facts were never filed into the State Courts

 record as the Judge would not remove his default j udgment against Siano and denied Siano due

 process of law. The State Court denied me the right to due process of law.


        22. Siano makes his point and makes this very clear, Siano's counterclaim was never

 actually litigated in a State Court prior to the filing of a Federal Court action, and the claims are

 not inextricably intertwined as expressed previously herein. "a claim is barred by Rooker-

 Feldman under two circumstances: first,    ifthe claim was     'actually litigated' in state court p rior

 to the filing ofthe federal action or, second,   if the claim is 'inextricably intertwined with [the]
 state acijudication Exxon Mobil v. Saudi Basic Industrial Corp 364 F3d 102 (2004).

 Quoting Desi's Pizza. 321 F3d at 419 quoting Parkview Assocs. P'ship v. City o{Lebanon, 225

 F3d 321. 325 (3d Cir.2000)). Exxon Mobil did not satisfy all four requirements set out by the
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 10 of 13 PageID: 625




 Third District for the invocation of the Rooker-Feldman Doctrine and the Court did not have to

 consider whether the claims were inextricably intertwined, Siano does not satisfy all four

 requirements as well therefore the evidence is not in support of the Rooker-Feldman Doctrine

 and establishes it's irrelevancy in this case.


                                            CONCLUSION


         As Siano clears up any confusion, Siano moves this Court to reconsider its decision

 dismissing Siana's proper complaint and allow Siano his right to have his day in court and prove

 his complaint. Acquiring the documents stated above clearly provides the evidence of Siano's

 right to void the mortgage and prove that the Defendants are without clean hands and their

 involvement of racketeering. Claiming to hold the note is one thing, claiming to hold the original

 signed piece of paper at closing is another.




                                        Respectfully Submitted




                                                    ~g~                                date:   ?-/O(/Z.(
                                                    MICHAEL PATRICK SIANO

                                                     I 02 Haines Street East

                                                     Lanoka Harbor, New Jersey 08734

                                                    Mikeel987@ Yahoo.com

                                                    (732) 788-0772
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 11 of 13 PageID: 626




                   AFFADA VIT OF TRUTH TO THE FACTS




  I Michael Patrick Siano having :firsthand knowledge states the following:


  1. I Michael Patrick Siano as the Trustor and only signer have properly rescinded/voided the

     Mortgage document# 1705GMC12643, MIN # 1009777-0000007084-9 basing his decision

     on misrepresentations of facts.



  2. I Michael Patrick Siano have the lawful right to exercise per federal statute 15 U.S.C. §

      1635(b) to rescind my signature due to misrepresentation of facts before, and during the

     transaction process. The effect of my rescission voids the security instrument, the

     Defendants M&T BANK and Parker McCay Law Offices are with unclean hands filing a

     suit in the Superior Court of New Jersey all of which renders the Judgment procured void ab

     initio.




  3. I Michael Patrick Siano attests that my Federal Case has no bearing or came from an injury

     from the State Court judgments.




 4. I Michael Patrick Siano attests having firsthand knowledge that my complaint is just and right

 and once tried will result in the facts and findings in his complaint.
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 12 of 13 PageID: 627




          I, Michael Patrick Siano, testify on my own behalf and by my own free will act and deed,

 under penalty of perjury that the statements and facts in this Motion for Reconsideration set forth

 herein are true and correct to the best of my ability and will testify under oath if case may be, so

 help me God.


                                                      Under my Hand and Seal,                   Dated:   ~ /"/ / 'u(




                                                                    By: _    ~-        -~--~ -




 State of New Jersey

                        )ss                            JURAT

 County of Ocean

 Sworn t o (or affirmed) and subscribed before me on this 9th day of July 2021, Michael Patrick Siano proved to me
                                                               eared before me.




                                                                                    Date    O  7/oq l;;ioc:;;I
                   BRITTANY McCULLOUGH
 (seal)            NOTARY PUBLIC OF NEW JERSEY
                       Comm. # 50078850
                    My Commission Expires 3/16/2023
Case 3:20-cv-12827-MAS-DEA Document 27 Filed 07/09/21 Page 13 of 13 PageID: 628




                            CERTIFICATE OF SERVICE
  I hereby certify that on July 09, 2021, a true copy of the foregoing was mailed via U.S.P.S. to the
  named Defendant's council. Notice ofthis filing will be sent by e- mail .



   PARKER IBRAHIM & BERG                                            Andrew Sayles

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                                                                             g            date :   7-/9 / ~/
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